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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed April 28, 2017
______________________________________________________________________




                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

      In re:                                               Chapter 15

      MtGox Co., Ltd. (a/k/a MtGox KK),                    Case No. 14-31229-sgj-15

                         Debtor in a Foreign Proceeding.


                             ORDER APPROVING (I) SETTLEMENT
                            AGREEMENT WITH U.S. GOVERNMENT;
                      (II) TRANSFER OF SEIZED FUNDS IN ACCORDANCE
                      WITH THE SETTLEMENT AGREEMENT, PURSUANT
                   TO 11 U.S.C. §§363 AND 1520(a)(2); AND (III) REPATRIATION
                OF THE RELEASED FUNDS TO JAPAN FOR DISTRIBUTION IN THE
               JAPAN BANKRUPTCY PROCEEDING PURSUANT TO 11 U.S.C § 1521(b)

               This matter coming before the Court on the motion (the “Motion”) of Nobuaki

     Kobayashi, in his capacity as the bankruptcy trustee and foreign representative (the “Foreign

     Representative”) of MtGox Co., Ltd., a/k/a MtGox KK, a debtor in a bankruptcy proceeding

     under Japanese law (the “Japan Bankruptcy”), currently pending before the Twentieth Civil

     Division of the Tokyo District Court, Japan, for an Order: (i) approving the Settlement


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Agreement;1 (ii) pursuant to Bankruptcy Code Sections 363 and 1520(a)(2), approving the

transfer of Released Funds to the Foreign Representative and the forfeiture of the Forfeited

Funds to the Government in accordance with the Settlement Agreement; and (iii) pursuant to

Bankruptcy Code Section 1521(b), approving the repatriation of the Released Funds to Japan for

distribution in the Japan Bankruptcy; and the Court having jurisdiction over this Motion pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having determined that the legal and factual bases

set forth in the Motion establish cause for the relief granted herein;

          IT IS HEREBY ORDERED that the Motion is granted to the extent set forth herein;

          IT IS FURTHER ORDERED that the Settlement Agreement is approved pursuant to 11

U.S.C. §§ 363 and 1520(a)(2) insofar as it provides for the transfer of an interest of the Debtor in

property within the territorial jurisdiction of the United States;

          IT IS FURTHER ORDERED that, pursuant to 11 U.S.C. §§ 363 and 1520(a)(2), the

Released Funds are authorized to be transferred to the Foreign Representative, and the Foreign

Representative is authorized to forfeit the Forfeited Funds to the Government in accordance with

the Settlement Agreement;

          IT IS FURTHER ORDERED that, pursuant to 11 U.S.C. § 1521(b), the Released Funds

are authorized to be repatriated to Japan for distribution in the Japan Bankruptcy; and

          IT IS FURTHER ORDERED that the Court retains jurisdiction to hear and determine all

matters arising from or related to the implementation, interpretation and enforcement of this

Order.

                                             ### End of Order ###




1
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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